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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

PATRICIA SLACK, INDIVIDUALLY
AND AS THE SURVIVING MOTHER
OF CHARLES ROUNDTREE, JR.;
TAYLOR SINGLETON, BERNICE
ROUNDTREE, AND AS
REPRESENTATIVE OF THE ESTATE
OF CHARLES ROUNDTREE, JR. AND
ALL STATUTORY BENEFICIARIES;
AND DAVANTE SNOWDEN,

       Plaintiffs,

v.                                                  Case No. SA-18-CV-01117-JKP-ESC

CITY OF SAN ANTONIO, TEXAS,
STEVE CASANOVA, SAN ANTONIO
POLICE OFFICER;

       Defendants.


                     ORDER OVERRULING OBJECTIONS TO ORDER OF
                       THE UNITED STATES MAGISTRATE JUDGE

       This is a hotly litigated civil rights action arising out of the death of Charles Roundtree,

Jr., an 18-year-old, and the injuries allegedly sustained by Taylor Singleton and Devante

Snowden during an encounter with the San Antonio Police Department. On June 14, 2021,

Magistrate Judge Elizabeth S. Chestney issued an Order (ECF No. 152) granting in part

Plaintiffs’ Motion to Compel Discovery Responses from Defendants Steve Casanova and the

City of San Antonio (ECF No. 134). In this Order, the Magistrate Judge directed Casanova to

produce a mobile phone number and carrier information to Plaintiffs and granted Plaintiffs’

request to subpoena the carrier for the cell phone records associated with the phone number from

October 16, 2018 to October 18, 2018, or request the records pursuant to an authorization
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executed by Casanova. ECF No. 152 at 4. The Order resulted in an appeal (ECF No. 165) by

Defendant Casanova and a response by Plaintiffs (ECF No. 169).

          I. AUTHORITY OF MAGISTRATE JUDGE AND STANDARD OF REVIEW

       Section 636(b)(1)(A) of Title 28 of the United States Code permits district judges to “des-

ignate a magistrate judge to hear and determine any pretrial matter pending before the court,”

except for specifically listed motions that are not at issue here. In accordance with this provision,

this Court referred this case to the Magistrate Judge for disposition of all non-dispositive matters.

See Referral Order (ECF No. 44). The Magistrate Judge issued the contested order (ECF No.

152) under this referral order. The Order disposed of non-dispositive matters filed by Plaintiffs.

       The district judge may review and reconsider any pretrial matter decided by a magistrate

judge under the authority of subparagraph (A) when “it has been shown that the magistrate

judge’s order is clearly erroneous or contrary to law.” 28 U.S.C. § 636(b)(1)(A). Rule 72(a) of

the Federal Rules of Civil Procedure provides further guidance as to reviewing non-dispositive

pretrial orders of magistrate judges. It establishes a fourteen-day period for parties to object to

such orders. And it mandates that the district judge “consider timely objections and modify or set

aside any part of the order that is clearly erroneous or is contrary to law.”

       Rule 72(a) and § 636(b)(1)(A) set out a “highly deferential standard [that] requires the

court to affirm the decision of the magistrate judge unless ‘on the entire evidence [the court] is

left with a definite and firm conviction that a mistake has been committed.’” Baylor Health Care

Sys. v. Equitable Plan Servs., Inc., 955 F. Supp. 2d 678, 689 (N.D. Tex. 2013) (quoting United

States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)); accord Gomez v. Ford Motor Co., No.

5:15-CV-866-DAE, 2017 WL 5201797, at *2 (W.D. Tex. Apr. 27, 2017) (same). With respect to

reviewing a non-dispositive order of a magistrate judge, the following principles apply:



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       The clearly erroneous standard applies to the factual components of the magistrate
       judge’s decision. The district court may not disturb a factual finding of the magis-
       trate judge unless, although there is evidence to support it, the reviewing court is
       left with the definite and firm conviction that a mistake has been committed. If a
       magistrate judge’s account of the evidence is plausible in light of the record
       viewed in its entirety, a district judge may not reverse it. The legal conclusions of
       the magistrate judge are reviewable de novo, and the district judge reverses if the
       magistrate judge erred in some respect in [his or her] legal conclusions. [T]he
       abuse of discretion standard governs review of that vast area of choice that re-
       mains to the [magistrate judge] who has properly applied the law to fact findings
       that are not clearly erroneous.

Baylor Health Care Sys., 955 F. Supp. 2d at 689 (omitting citations and internal quotation marks

while quoting Arters v. Univision Radio Broadcasting TX, L.P., No. 3:07-CV-0957-D, 2009 WL

1313285, at *2 (N.D. Tex. May 12, 2009)); accord Moore v. Ford Motor Co., 755 F.3d 802, 806

(5th Cir. 2014) (recognizing that a review of a non-dispositive ruling of a magistrate judge en-

tails reviewing “‘factual findings under a clearly erroneous standard,’ while ‘legal conclusions

are reviewed de novo’”); Sparling v. Doyle, No. EP-13-CV-00323-DCG, 2016 WL 236266, at *2

(W.D. Tex. Jan. 20, 2016).

       The clearly erroneous standard of review “does not entitle the court to reverse or recon-

sider the order simply because it would or could decide the matter differently.” Gomez, 2017 WL

5201797, at *2 (citing Guzman v. Hacienda Records & Recording Studio, Inc., 808 F.3d 1031,

1036 (5th Cir. 2015)). To the contrary, “the great deference owed to the [magistrate] judge’s

findings compels the conclusion that [w]here there are two permissible views of the evidence,

the factfinder’s choice between them cannot be clearly erroneous.” Guzman, 808 F.3d at 1036

(citations and internal quotation marks omitted).

       Consistent with § 636(b)(1) and Rule 72(a), the Court reviews the orders entered by the

Magistrate Judge and the objections thereto.




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                                II. ANALYSIS AND CONCLUSION

       Upon reviewing the entire evidence; the briefing of the parties, including the objections

asserted and response to the appeal; and the order of the Magistrate Judge, the Court is not left

with any definite and firm conviction that any factual mistake has been committed. In addition,

upon a de novo review of the legal conclusions of the Magistrate Judge, the Court finds no legal

error. And for that vast area of choice that remains to the Magistrate Judge who has properly

applied the law to fact findings that are not clearly erroneous, the Court finds no abuse of

discretion. Accordingly, the Court OVERRULES all objections asserted by Defendant

Casanova in his appeal, DENIES all relief requested by Defendant Casanova in his appeal (ECF

No. 165), and AFFIRMS the order of the Magistrate Judge (ECF No. 152).

       SIGNED this 7th day of July 2021.



                                            JASON PULLIAM
                                            UNITED STATES DISTRICT JUDGE




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